                     THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

                                   No. 5:10-CT-3123-BO

SHAUN ANTONIO HAYDEN,                      )
                                           )
                  Plaintiff,               )
                                           )                EXHIBIT INDEX
     v.                                    )
                                           )
PAUL G. BUTLER,                            )
                                           )
                  Defendant.               )


           A.        Offender Information Report of Plaintiff Shaun Hayden

           B.        Indictments

           C.        Probable Cause Hearing (For Trial As An Adult)

           D.        Judgment and Commitment

           E.        Newspaper Articles

           F.        Excerpts from the Deposition of Mary Stevens

           G.        Excerpts from the Deposition of Paul G. Butler, Jr.
